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   6   Attorney for Defendant
       Adir International, LLC dba Curacao
   7
   8                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   9
  10   TAWNI JONES,                               Case No.: 2:20-cv-10312-AB-AGR
  11
                    Plaintiff,                    STIPULATION FOR PROTECTIVE
  12                                              ORDER
  13   v.
  14                                               127( &+$1*(6 0$'( %< 7+( &2857
       ADIR INTERNATIONAL, LLC d/b/a
  15   CURACAO,
  16                Defendant.
  17
  18         WHEREAS, certain documents and information subject to disclosure or
  19   produced during discovery in this litigation should be kept confidential to protect
  20   the legitimate business and privacy interests of the parties, their officers, agents and
  21   employees, and other persons,
  22         AND WHEREAS, the parties have agreed on the means of handling such
  23   documents,
  24         IT IS HEREBY STIPULATED by and among the parties hereto, through
  25   their respective counsel, that this Court enter a Protective Order, pursuant to Fed. R.
  26   Civ. P. 26(c), to govern documents and information produced in discovery in this
  27   litigation, as follows:
  28

                                                  -1-
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   1
               1.    Nondisclosure of Stamped Confidential Documents
   2
               Except with the prior written consent of the party or other person originally
   3
       designating a document to be stamped as a confidential document, or as hereinafter
   4
       provided under this Order, no "stamped confidential document" (as defined in the
   5
       following paragraph) may be disclosed to any person.
   6
               A "stamped confidential document" means any document designated in good
   7
       faith as containing either (i) financial, trade, or personal or proprietary information
   8
       which is not generally available to the public or third persons, or (ii) privileged
   9
       communications disclosed under the limited waiver of the attorney-client privilege
  10
       set forth in Paragraph 2 of this Order, and bearing the legend (or otherwise having
  11
       had the legend recorded upon it in a way that brings it to the attention of a
  12
       reasonable examiner) "CONFIDENTIAL - Subject to Protective Order in Civil
  13
       Action No. 2:20-cv-10312-AB-AGR (C.D. Cal.)" to signify that it contains
  14
       information believed to be subject to protection under Fed. R. Civ. P. 26(c). On a
  15
       multi-page document, the designation need appear on the first page of the document
  16
       only.
  17
               For purposes of this Order, the term "document" means all written, recorded,
  18
       or graphic material, whether produced or created by a party or another person,
  19
       whether produced pursuant to Rule 34, subpoena, by agreement, or otherwise.
  20
       Interrogatory answers, responses to requests for admission, deposition transcripts
  21
       and exhibits, pleadings, motions, affidavits, and briefs that quote, summarize, or
  22
       contain materials entitled to protection may be accorded status as a stamped
  23
       confidential document, but, to the extent feasible, shall be prepared in such a
  24
       manner that the confidential information is bound separately from that not entitled
  25
       to protection. Whenever testimony or portions of testimony are designated as
  26
       "confidential," the court reporter shall be advised and, upon request of the
  27
       designated party or its counsel, shall separately transcribe that testimony so
  28
                                                  -2-
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   1
       designated and shall mark the face of the transcript "Confidential - Subject to
   2
       Protective Order."
   3
              2.     Unrestricted Information and Documents
   4
              Nothing herein shall impose any restriction on the use or disclosure by a
   5
       party of its own documents or information. Nor shall this Order be construed to
   6
       prevent any party or its counsel or experts from making use as they see fit of
   7
       documents or information which were lawfully available to the public or lawfully in
   8
       the possession of the party, counsel or expert prior to another party’s providing
   9
       them (and which the party otherwise may lawfully disclose), or which properly
  10
       came into possession of the party, counsel or expert independent of any work on
  11
       this litigation.
  12
              3.     Permissible Disclosures
  13
              Notwithstanding paragraph 1, stamped confidential documents may be
  14
       disclosed to outside counsel for the parties who are actively engaged in the conduct
  15
       of this litigation; to the partners, of counsel attorneys, and employees of such
  16
       counsel to the extent reasonably necessary to render professional services in this
  17
       litigation; to persons with prior knowledge of the documents or the confidential
  18
       information contained therein, and their agents; and to court officials involved in
  19
       this litigation (including court reporters, persons operating video recording
  20
       equipment at depositions, and any special master appointed by the Court). For the
  21
       purposes of this Order, the term "this litigation" means Civil Action No. 2:20-cv-
  22
       10312-AB-AGR. Such documents may also be disclosed
  23
              (a)    to any person designated by the Court in the interest of justice, upon
  24
       such terms as the Court may deem proper; and
  25
              (b)    to persons noticed for depositions or designated as trial witnesses to
  26
       the extent reasonably necessary in preparing to testify; to outside consultants or
  27
       experts retained for the purpose of assisting counsel in this litigation; to parties,
  28
                                                   -3-
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   1
       employees and former employees of parties solely for the purpose of assisting
   2
       counsel in this litigation; to employees of parties involved solely in one or more
   3
       aspects of organizing, filing, coding, converting, storing, or retrieving data or
   4
       designing programs for handling data connected with this litigation, including the
   5
       performance of such duties in relation to a computerized litigation support system;
   6
       and to employees of third-party contractors performing one or more of these
   7
       functions; provided, however, that in all such cases the individual to whom
   8
       disclosure is to be made has signed an agreement substantially similar in form to
   9
       Exhibit A hereto.
  10
             4.     Inconsistent Designations
  11
             In the event a party produces two or more identical or substantially identical
  12
       copies of a document and any such copy or substantially identical copy is
  13
       designated with a lesser degree of confidentiality than any other copy, all such
  14
       identical or substantially identical copies shall be treated in accordance with the
  15
       most restrictive designation on any copy or substantially identical copy once the
  16
       inconsistent designation is known. The producing party shall be responsible for
  17
       informing the party receiving the inconsistently-designated information of the
  18
       inconsistent designation; however, if the party receiving the inconsistently
  19
       designated information has knowledge of the inconsistent designation, it shall so
  20
       inform the producing party and shall treat all copies or substantially identical copies
  21
       in accordance with the most confidential designation.
  22
             5.     Declassification
  23
             Any receiving party may at any time request in a writing, personally served
  24
       or sent by telecopier to the designating party or person’s counsel, that the
  25
       designating party or person cancel a "confidential" designation. The request shall
  26
       particularly identify the information or documents the receiving party contends
  27
       should not be designated "confidential." The designating party or person shall
  28
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   1
       respond by a writing, personally served or sent by telecopier to the receiving party’s
   2
       counsel, within five (5) business days of receipt of the request.
   3
             A party may apply to the Court for a ruling that a document (or category of
   4
       documents) stamped as confidential is not entitled to such status and protection.
   5
       The party or other person that designated the document as confidential shall be
   6
       given notice of the application and an opportunity to respond. To maintain
   7
       confidential status, the proponent of confidentiality must show by a preponderance
   8
       of the evidence that there is good cause for the document to have such protection.
   9
             6.     Confidential Information in Depositions
  10
             (a)    A deponent may during a deposition be shown and examined about
  11
       stamped confidential documents if the deponent already knows the confidential
  12
       information contained therein or if the provisions of paragraph 4(b) are complied
  13
       with. Deponents shall not retain or copy portions of the transcript of their
  14
       depositions that contain confidential information not provided by them or the
  15
       entities they represent unless they sign the agreement prescribed in paragraph 4(b).
  16
       A deponent who is not a party or a representative of a party shall be furnished a
  17
       copy of this Order before being examined about, or asked to produce, potentially
  18
       confidential documents.
  19
             (b)    Parties (and deponents) may, within 15 days after certification of a
  20
       deposition transcript, designate pages and/or lines of the transcript (and exhibits
  21
       thereto furnished by them) as confidential. Confidential information within the
  22
       deposition transcript may be designated by underlining the portions of the pages
  23
       that are confidential and marking such pages with the following legend:
  24
       "Confidential - Subject to Protection Pursuant to Court Order," and advising
  25
       counsel for all parties, the court reporter, and the deponent, by telecopier (or by
  26
       mail, if the party or person making the designation has no telecopier), of such
  27
       designation. Until expiration of the 15-day period, the entire deposition will be
  28
                                                  -5-
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   1
       treated as subject to protection against disclosure under this Order. If no party or
   2
       deponent timely designates confidential information in a deposition, then none of
   3
       the transcript or its exhibits will be treated as confidential; if a timely designation is
   4
       made, the confidential portions and exhibits shall be filed under seal separate from
   5
       the portions and exhibits not so marked.
   6
              7.    Confidential Information at Trial
   7
             Any use of Confidential Information at trial shall be governed by the orders
   8
       of the trial judge. This Order does not govern the use of Confidential Information
   9
       at trial. Subject to the Federal Rules of Evidence, stamped confidential documents
  10
       and other confidential information may be offered in evidence at trial or any court
  11
       hearing, provided that the proponent of the evidence gives five days’ advance
  12
       notice to counsel for any party or other person that designated the information as
  13
       confidential. Identification of any such document in a Local Rule 9.4.4 exchange
  14
       of exhibits shall constitute such notice as to trial exhibits so identified. Any party
  15
       may move the Court for an order that the evidence be received in camera or under
  16
       other conditions to prevent unnecessary disclosure. The Court will then determine
  17
       whether the proffered evidence should continue to be treated as confidential
  18
       information and, if so, what protection, if any, may be afforded to such information
  19
       at the trial. The five day advance notice requirement shall not apply to stamped
  20
       confidential documents or other confidential information to be used at trial solely
  21
       for rebuttal or impeachment purposes. In such instances, the proponent of the
  22
       evidence shall make a good-faith effort to provide advance notice that is reasonable
  23
       under the circumstances.
  24
              8.    Subpoena by Other Courts or Agencies
  25
             If another court, an administrative agency, legislative body or other person or
  26
       entity purporting to have authority to compel the production of information
  27
       subpoenas or orders production of stamped confidential documents that a party has
  28
                                                   -6-
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   1
       obtained under the terms of this Order, such party shall promptly notify the party or
   2
       other person who designated the document as confidential of the existence of such
   3
       subpoena or order. Such notification shall include a copy of the subpoena or order.
   4
       The recipient of the subpoena or order will not disclose confidential information or
   5
       stamped confidential documents unless and until required by statute, court rule, the
   6
       subpoena or the order.
   7
              9.    Filing
   8
             Stamped confidential documents need not be filed with the clerk except when
   9
       required in connection with motions under Fed. R. Civ. P. 56 or other matters
  10
       pending before the Court. If filed, they shall be filed with an application to file
  11
       under seal pursuant to Local Rule 79-5. If filed, they shall be filed under seal and
  12
       shall remain sealed while in the office of the clerk so long as they retain their status
  13
       as stamped confidential documents.
  14
              10.   Client Consultation
  15
             Nothing in this Order shall prevent or otherwise restrict counsel from
  16
       rendering advice to their clients and, in the course thereof, relying generally on
  17
       examination of stamped confidential documents.
  18
              11.   Use
  19
             Persons obtaining access to stamped confidential documents under this Order
  20
       shall use the information only for preparation or trial of this litigation (including
  21
       appeals and retrials), and shall not use such information for any other purpose,
  22
       including business, governmental, commercial, administrative, or judicial
  23
       proceedings, except for communications with governmental agencies which either
  24
       are investigating allegedly unlawful conduct by, or have brought criminal charges
  25
       against, any party to this action.
  26
              12.   Non-Termination
  27
             The provisions of this Order shall not terminate at the conclusion of this
  28
                                                  -7-
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   1
       litigation. Within 120 days after final conclusion of all aspects of this litigation,
   2
       including the exhaustion of any appeals or the consummation of any settlement,
   3
       stamped confidential documents and all copies of same (other than exhibits of
   4
       record) shall be returned to the party or person that produced such documents or, at
   5
       the option of the producer, destroyed. The Court retains jurisdiction subsequent to
   6
       settlement or entry of judgment to enforce the terms of this Order.
   7
              13.   Modification Permitted
   8
             Nothing in this Order shall prevent any party or other person from seeking
   9
       the Court’s approval of a modification of this Order to permit disclosure of stamped
  10
       confidential documents to public officials for law enforcement purposes, to seek
  11
       additional protection pursuant to Fed. R. Civ. P. 26, or for any other reason.
  12
              14.   Responsibility of Attorneys
  13
             The attorneys of record are responsible for employing reasonable measures,
  14
       consistent with this Order, to control duplication of, access to, and distribution of
  15
       copies of stamped confidential documents. Parties shall not duplicate any stamped
  16
       confidential document except working copies and for filing in court under seal.
  17
              15.   No Waiver
  18
             (a)    Review of stamped confidential documents and information therein by
  19
       counsel, experts, or consultants for the parties in this litigation shall not waive the
  20
       confidentiality of the documents or objections to production.
  21
             (b)    The inadvertent, unintentional, or in camera disclosure of confidential
  22
       documents and information shall not, under any circumstances, be deemed a
  23
       waiver, in whole or in part, of any party’s claims of confidentiality. Nor shall the
  24
       inadvertent production of any privileged or otherwise protected information be
  25
       deemed a waiver or impairment of any claim of privilege or protection, including
  26
       but not limited to the attorney-client privilege, the protection afforded to work
  27
       product materials or the subject thereof, or of the confidential nature of any such
  28
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   1
       information. Upon receiving notice from the producing party that privileged
   2
       information or work product material has been inadvertently produced, all such
   3
       information, and all copies thereof, shall be returned to the producing party within
   4
       five (5) business days of receipt of such notice. The portions of any analyses,
   5
       memoranda or notes which were internally generated based upon such information
   6
       shall be destroyed, except to the extent that they are within a hard-drive, from
   7
       which such information shall be deleted. Upon receiving notice from the producing
   8
       party that confidential information has not been appropriately so designated, all
   9
       such information shall be redesignated and treated appropriately. The party
  10
       receiving such undesignated confidential information shall make a reasonable good
  11
       faith effort to ensure that any analyses, memoranda or notes that were internally
  12
       generated based upon such information shall immediately be treated in
  13
       conformance with any such redesignation.
  14
             (c)    Nothing contained in this Order and no action taken pursuant to it shall
  15
       prejudice the right of any party to contest the alleged relevance, admissibility, or
  16
       discoverability of the stamped confidential documents and information sought or
  17
       preclude any party from objecting to discovery that it believes to be otherwise
  18
       improper.
  19
             (d)    Nothing contained in this Order or any declaration of confidentiality
  20
       hereunder shall be used or characterized by any party as an "admission" by a party
  21
       opponent.
  22
             16.    Effective Date
  23
             The parties agree to be bound by the terms of this Order, pending approval of
  24
       the Order by the Court, effective as of the 29th day of March, 2021.
  25
  26   Dated: March30, 2021                          By: /s/ G. Thomas Martin, III
                                                     G. Thomas Martin, III (SBN 218456)
  27                                                 Nicholas J. Bontrager (SBN 252114)
  28
                                                 -9-
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   1                                                  Martin & Bontrager APC
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                                                      Toluca Lake, CA 91602
   3                                                  (323)940-1700
   4                                                  Tom@mblawapc.com
                                                      Nick@mblawapc.com
   5                                                  Attorneys for Plaintiff
   6                                                  Tawni Jones
   7   Dated: March 30, 2021                          By: /s/ Elizabeth T. Van Horn
   8                                                  Elizabeth T. Van Horn (SBN 212592)
                                                      Assistant General Counsel
   9                                                  Adir International, LLC dba Curacao
  10                                                  1605 W. Olympic Blvd., Suite 510
                                                      Los Angeles, CA 90015
  11                                                  213-427-2624
  12                                                  elizabeth@icuracao.com
  13                                                  Attorney for Defendant Adir
  14                                                  International, LLC dba Curacao
  15
                               SIGNATURE CERTIFICATION
  16
  17         Pursuant to L.R. 5-4.3.4(a)(2), I hereby certify that all other signatories listed,

  18   on whose behalf this filing is submitted, concur with the contents of this filing, and
  19
       have authorized the filing.
  20
  21
       DATED: March 30, 2021
  22
                                                      /s/ Elizabeth T. Van Horn
  23
                                                      Elizabeth T. Van Horn
  24                                                  Attorney for Defendant,
                                                      Adir International, LLC
  25
  26
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   1
                                            EXHIBIT A
   2
           AGREEMENT TO TERMS OF STIPULATION FOR PROTECTIVE ORDER
   3
             I, __________________________, hereby declare that:
   4
             1.      I have been advised of and have personally reviewed the terms and
   5
       conditions of the Stipulation for Protective Order and Order entered in the
   6
       proceeding entitled Tawni Jones v. Adir International, LLC, Civil Action No. 2:20-
   7
       cv-10312-AB-AGR, currently pending in the United States District Court for the
   8
       Central District of California, Western Division.
   9
             2.      I hereby agree that I will abide by the terms of that protective order.
  10
             3.      I have been advised and understand that a violation of the terms of the
  11
       protective order would constitute contempt of court and may subject me to such
  12
       penalties as may be ordered by the Court presiding in the above-referenced
  13
       proceeding.
  14
             4.      I hereby consent to the personal jurisdiction of the United States
  15
       District Court for the Central District of California, Western Division, solely for the
  16
       limited purposes of enforcing the above-referenced protective order and this
  17
       Agreement.
  18
             I hereby declare under penalty of perjury that the foregoing is true and
  19
       correct.
  20
  21
       __________________________              ___________________________________
  22       Dated                                  Signature
  23
  24
  25
  26
  27
  28
                                                 - 11 -
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   1
                                           ORDER
   2
             The Court having considered the foregoing Stipulation for Protective Order,
   3
       and good cause appearing therefor, IT IS HEREBY ORDERED that the Parties
   4
       shall be bound by and must comply with its provisions.
   5
             SO ORDERED this April 2nd day of April, 2021.
   6
   7
   8                                      ____________________________________
                                          HON. ALICIA G. ROSENBERG
   9                                      UNITED STATES MAGISTRATE JUDGE
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